     Case 18-31436          Doc 103      Filed 02/22/19 Entered 02/22/19 09:05:12                 Desc Main
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                                   UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF NORTH CAROLINA
                                          CHARLOTTE DIVISION


IN RE:
         Vinroy W. Reid                                                       CASE NO: 18-31436

                                                                              Chapter 13
SSN# :   XXX-XX-9436         DEBTOR


                           OBJECTION OF TRUSTEE TO CONFIRMATION OF PLAN;
                                         MOTION TO DISMISS

The undersigned Chapter 13 Trustee hereby objects to confirmation of the proposed plan of the above -referenced
debtor, and moves that the court dismiss the case pursuant to 11 USC Section 1307 (c).

In support of his objection, the trustee would show as follows:

The proposed plan does not comply with the requirements of 11 USC Section 1322 (a) for the reason that
it does not provide for the full payment of each priority unsecured claim.

Wherefore, the trustee requests that the court set a hearing on his Objection and Motion, and that it grant such
relief as is appropriate and just.

Dated: February 21, 2019                                                       Warren L. Tadlock
                                                                               Standing Chapter 13 Trustee
                                                                               5970 Fairview Road, Suite 650
                                                                               Charlotte, NC 28210-2100


                              ** IMPORTANT INFORMATION ON REVERSE SIDE **




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                                    UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF NORTH CAROLINA
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IN RE:
          Vinroy W. Reid                                                     CASE NO: 18-31436

                                                                             Chapter 13
SSN# :    XXX-XX-9436         DEBTOR


         NOTICE OF OBJECTION OF TRUSTEE TO CONFIRMATION AND MOTION TO DISMISS PLAN

    The Chapter 13 trustee has filed papers in the bankruptcy case for the debtor to object to confirmation and to
dismiss the case.

    Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult
one.

     If you do not want the court to grant the relief requested by the trustee in the objection and motion or if you
want the court to consider your views on the objection and motion, you or your attorney must file with the court a
written response to the objection and motion by March 25, 2019 at the following address:

                 CLERK, U.S. BANKRUPTCY COURT
                 401 W TRADE ST.
                 CHARLOTTE, NC 28202

    If you mail your response to the court for filing, you must mail it early enough for the court to receive it on
or before the deadline stated above.

     A hearing will be held on the trustee's objection and motion will be held on March 26, 2019 at 10:00 am at the
following address:

                 Charles Jonas Federal Building
                 Courtroom 1-5
                 401 West Trade Street
                 Charlotte, NC 28202-1619

If you or your attorney do not take these steps, the court may decide that you do not oppose the relief sought in the
objection and motion and may enter an order granting that relief.

Dated: February 21, 2019                                                         Warren L. Tadlock
                                                                                 Standing Chapter 13 Trustee
                                                                                 5970 Fairview Road, Suite 650
                                                                                 Charlotte, NC 28210-2100




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                              UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF NORTH CAROLINA
                                     CHARLOTTE DIVISION

IN RE:                                                         CASE NO: 18-31436
         Vinroy W. Reid
                                                               Chapter 13

SSN# :   XXX-XX-9436      DEBTOR


                                     CERTIFICATE OF SERVICE

The parties whose names and addresses are listed below were served by United States first class mail,
postage prepaid on February 22, 2019.

                                                                     L. Pascal
                                                                     Office of the Chapter 13 Trustee

BROCK AND SCOTT PLLC, ATTORNEYS AT LAW, 8757 RED OAK BLVD SUITE 150, CHARLOTTE, NC 28217
CAPITAL ONE BANK, 15000 CAPITAL ONE DRIVE, RICHMOND, VA 23238
CAROLINAS PA, C/O FINANCIAL DATA SYSTEMS, 1638 MILITARY CUTOFF ROAD, WILMINGTON, NC 28403
CHS UNIVERSITY PARENT HOSPITAL, c/o PMAB, LLC, 4135 S Stream Blvd, Suite 4, Charlotte, NC 28217
CITY OF CHARLOTTE, PO BOX 1316, CHARLOTTE, NC 28201
CMC EASTLAND, PMAB LLC, 4135 S STREAM BLVD STE 400, CHARLOTTE, NC 28210
DUKE ENERGY, ONLINE COLLECTIONS, PO BOX 1489, WINTERVILLE, NC 28590
DUKE VINYL PRODUCTS, INC, 304 W 32nd Street, Charlotte, NC 28206
FERN E DE JONGE, ESQ, 7718 Flatlands Avenue, 2nd Floor, Brooklyn, NY 11234
HAZELYN MILLS, 7329 Boswell Road, Charlotte, NC 28215
HOME DEPOT, 2455 PACES FERRY ROAD, ATLANTA, GA 30339
HSBC BANK USA NA, C/O OCWEN LOAN SERVICING LLC, ATTN CASHIERING DEPARTMENT, 1661 WORTHINGTON ROAD
SUITE 100, WEST PALM BEACH, FL 33409
HSBC BANK USA NA, OCWEN LOAN SERVICING LLC, ATTN BANKRUPTCY DEPARTMENT, PO BOX 24605, WEST PALM
BEACH, FL 33416-4605
HSBC BANK USA NA, OCWEN LOAN SERVICING LLC, PO BOX 24605, WEST PALM BEACH, FL 33416
INTERNAL REVENUE SERVICE, PO BOX 7317, INSOLVENCY REMITTANCE, PHILADELPHIA, PA 19101-7317
INTERNAL REVENUE SERVICE, PO BOX 7346, PHILADELPHIA, PA 19101-7346
JAMES H HENDERSON, THE HENDERSON LAW FIRM, 1120 GREENWOOD CLIFF, CHARLOTTE, NC 28204
JPMORGAN CHASE BANK NA, CHASE RECORDS CENTER ATTN CORRESPONDENCE MAIL, MAIL CODE LA4 5555, 700
KANSAS LANE, MONROE, LA 71203
JPMORGAN CHASE BANK NA, MAIL CODE OH4-7142, 3415 VISION DRIVE, COLUMBUS, OH 43219
LITA WILLIAMS, 9301 Misenheimer Road, Charlotte, NC 28215
MARTY E KING, 5054 Gatsby Circle, Rock Hill, SC 29732
MECKLENBURG COUNTY TAX COLLECTOR, BOB WALTON PLAZA, 700 E STONEWALL STREET, CHARLOTTE, NC 28202
MID ATLANTIC EMERGENCY MEDICAL, C/O OPTIMUM OUTCOMES INC, 2651 WARRENVILLE RD STE 500, DOWNERS GROVE,
IL 60515
MIRANDA REID, 3054 Chaffey Circle, Decatur, GA 30034
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RABON LAW FIRM PLLC, 225 E WORTHINGTON AVENUE STE 100, CHARLOTTE, NC 28203
SABATINI ATLANTA ENTERPRISES, INC, 4919 Flat Shoals Pkwy, Suite 122, Decatur, GA 30034
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VEROL REID, 2556 Brentwood Place, Charlotte, NC 28208
Vinroy W. Reid, P. O. Box 5035, Charlotte, NC 28299
WELLS FARGO VISA, PO BOX 10347, DES MOINES, IA 50306
WGIV 1370 AM, Home Builder, 9349 China Grove Church Road, Pineville, NC 28134
Y2 YOGA COTSWOLD LLC, C/O THE HENDERSON LAW FIRM, 1201 HARDING PLACE, CHARLOTTE, NC 28204

Total Served:38




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